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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:16-cv-03079-MSK-MJW

   ESTATE OF NATE CARRIGAN,
   JOHN CARRIGAN,
   MELISSA CARRIGAN, and
   KOLBY MARTIN
   TRAVIS THRELKEL

                  Plaintiffs,

   v.

   PARK COUNTY SHERIFF’S OFFICE,
   SHERIFF FRED WEGENER, in his official and individual capacity, and
   MARK HANCOCK, in his official and individual capacity,

                  Defendant.

   ___________________________________________________________________________

    PLAINTIFFS’ RESPONSE TO DEFENDANTS PARK COUNTY SHERIFF’S OFFICE
       AND SHERIFF FRED WEGENER’S MOTION FOR SUMMARY JUDGMENT
                    PURSUANT TO FED. R. CIV. P. 56 (DOC. NO. 55)
   ___________________________________________________________________________

          Plaintiffs, by and through their undersigned counsel, respond in opposition to Defendants

   Park County Sheriff’s Office and Sheriff Fred Wegener’s Motion for Summary Judgment

   Pursuant to Fed. R. Civ. P. 56 (Doc. No. 55) as follows:

                                         INTRODUCTION

          The Park County Sheriff’s Office (“PCSO”) selected Defendant Mark Hancock to lead

   the eviction of Martin Wirth. Having done so, PCSO is liable for the egregious conduct of

   Hancock that led to serious injuries and deaths, all of which were preventable had Hancock

   simply followed a plan intended to avoid the exact outcome Hancock caused, and had Hancock

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   followed the direct order of a superior officer.

          The plan for the eviction was that if Wirth went back into his residence, the officers

   would withdraw to the perimeter of the property and Hancock was to call Gore to assess what

   would be done next. On the morning of the eviction, Hancock assured the officers that they

   would not be breaching the residence. Later that day, the very situation they had planned for

   arose: Wirth retreated into his residence. With no emergency, no danger to anyone’s life, and a

   violent individual waiting inside the house, Hancock needed to do no more than follow the plan

   for this foreseeable circumstance. Instead, he disregarded the safety of everyone involved and

   inexplicably ordered the other officers to breach the residence. Hancock violated a direct order,

   PCSO policy, the tactical plan previously devised, his own training and experience, and the most

   fundamental tenets of law enforcement. This led directly to the outcome he was warned about:

   serious injury and loss of life. Such egregiously reckless conduct is truly conscience-shocking.

               CLAIMS AND DEFENSES UPON WHICH JUDGMENT IS SOUGHT

   A.     Wegener in his individual capacity: Qualified Immunity

          1.      Burden of Proof

          Plaintiffs do not dispute that they bear the burden after Wegener raises the qualified

   immunity defense.

          2.      Elements of Qualified Immunity

          Plaintiffs do not dispute that, in order to overcome the qualified immunity defense, they

   must show: “‘(1) that the defendant’s actions violated a federal constitutional or statutory right,

   and, if so, (2) that the right was clearly established at the time of the defendant’s unlawful

   conduct.’” Albright v. Rodriguez, 51 F.3d 1531, 1534 (10th Cir. 1995)


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          3.      Elements that Wegener is entitled to qualified immunity

          Plaintiffs concede that Wegener, in his individual capacity, is entitled to qualified

   immunity.

   B.     Wegener is entitled to summary judgment Fourteenth Amendment Due Process

          1.      Burden of Proof

          Plaintiffs do not dispute that they bear the burden of proving by a preponderance of the

   evidence each of the elements of danger creation.

          2.      Elements that Wegener is entitled to summary judgment regarding danger creation

          Plaintiffs concede that Wegener, in his individual capacity, is entitled to summary

   judgment regarding danger creation.

   C.     The PCSO and Wegener in his official capacity are not entitled to summary judgment
   based on danger creation

          1.      Burden of Proof

          Plaintiffs do not dispute that they bear the burden in establishing municipal liability under

   42 U.S.C. §1983. The Supreme Court has “consistently refused to hold municipalities liable under

   a theory of respondeat superior" but nonetheless has imposed liability upon municipalities when

   the enforcement of their policies or customs by their employees causes a deprivation of a person's

   federally protected rights. Therefore, the Court requires a plaintiff seeking to impose liability on a

   municipality under § 1983 to identify a municipal “policy” or “custom” that caused the plaintiff's

   injury. That is, a plaintiff must show that the municipal action was taken with the requisite degree

   of culpability and must demonstrate a direct causal link between the municipal action and the

   deprivation of federal rights. Monell and its progeny clearly stand for the proposition that the very

   language of § 1983 provides for the imposition of liability where there exists an "affirmative" or

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   "direct causal" link between a municipal person's adoption or implementation of a policy and a

   deprivation of federally protected rights, and that imposing liability upon such a basis does not

   implicate respondeat superior. Dodds v. Richardson, 614 F.3d 1185, 1202 (10th Cir. 2010).

            2.       Elements that Plaintiff can prove

            a.       There is a violation of Plaintiffs rights under the constitution1

                     I.        Collins does not bar all Due Process claims related to employment

            PCSO’s argument that Collins v. City of Harker Heights “does not provide a guarantee of

   safe outcomes” (Motion at 24) is irrelevant to the issues before this Court because Plaintiffs’

   claims in this action are not the same as the claim at issue in Collins. The Collins court held that

            the Due Process Clause does not impose an independent federal obligation upon
            municipalities to provide certain minimal levels of safety and security in the
            workplace and the city's alleged failure to train or to warn its sanitation department
            employees was not arbitrary in a constitutional sense.

   Collins v. City of Harker Heights, 503 U.S. 115, 130 (1992). Here, Plaintiffs do not allege

   liability solely based on a failure to provide a safe workplace. Because Plaintiffs’ claims go

   beyond the generality of the claims at issue in Collins, and Plaintiffs’ claims go to affirmative

   conduct by state actors, Collins does not apply.

            The Collins court did not make any ruling that could be read so broadly as to prohibit all

   constitutional claims that arise from an employment context, and instead articulated the limited

   scope of its ruling, as quoted above. See Collins, 503 U.S. at 130. If anything, the Collins

   opinion explicitly leaves the door open for constitutional claims arising in an employment

   context. In its criticism of the petitioner’s claims, the Collins court stated:



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    The constitutional violations at issue here are the state-created danger and failure to train. The latter is discussed
   below, and incorporated herein by reference.

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          In fact, she does not even allege that his supervisor instructed him to go into the
          sewer when the supervisor knew or should have known that there was a significant
          risk that he would be injured. Instead, she makes the more general allegation that
          the city deprived him of life and liberty by failing to provide a reasonably safe work
          environment.

   Id. at 125-26. This is not a case involving the type of “more general allegation” disapproved by

   the Collins court. Rather, in this case the Plaintiffs show that Hancock, the supervisor, ordered

   the officers to go into the Wirth residence when Hancock knew there was a significant risk that

   the officers would be injured. (See Dep. of Hancock, relevant portions of which are attached as

   Ex. 1, at 95:15-24, 126:19-24, 187:23-188:15, 206:21-207:1; Dep. of Gore, relevant portions of

   which are attached as Ex. 2, at 80:23-25, 81:1-19, 83:1-11, 93:2-12, 95:17-23.) If Collins has

   any application to this case, it is to show that the Plaintiffs’ claims are within the purview of

   constitutional protection.

          The 10th Circuit discussed Collins in Uhlrig v. Harder, 64 F.3d 567 (10th Cir. 1995). The

   Uhlrig court entertained a danger creation claim by the estate of an employee against the

   employer. In its discussion of Collins, the 10th Circuit made no mention of the type of broad

   prohibition against such claims as argued by PCSO and Wegener. Ultimately the Uhlrig court

   affirmed summary judgment for the employer, but based on the specific substantive elements of

   a danger creation claim. If Collins stood for the broad proposition advocated by PCSO and

   Wegener, there would be no need for the Uhlrig court to address the elements of the danger

   creation claim. This further illustrates that PCSO and Wegener’s reading of Collins is incorrect.

          The 10th Circuit’s opinion in Moore v. Guthrie, 438 F.3d 1036 (10th Cir. 2006), does not

   support PCSO and Wegener’s argument. Most notably, the plaintiff in Moore argued “that he

   has a cognizable claim for a violation of bodily integrity, based on his alleged right to work in a


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   safe environment.” Id. at 1039-40 (emphasis added). Like Collins, the Moore opinion is

   distinguishable because the Plaintiffs in this action make claims that are more specific and

   particularized than a general claim to a right to work in a safe environment. Those claims, and

   the facts supporting them, will be discussed in greater detail elsewhere in this Response. A plain

   reading of Collins and Moore, however, shows that they do not stand for the broad prohibition

   argued by PCSO and Wegener. Properly construed, neither Collins nor Moore are a barrier to

   Plaintiffs’ claims, and PCSO and Wegener’s argument on this ground should be rejected.

                  II.     State-created danger elements

          PCSO and Wegener apparently do not dispute that the two “preconditions” to state-

   created danger liability are present here. (See Motion at 17-23, 24.) Those preconditions are:

   “first, the state actor took an affirmative action, and, second, that action led to private violence

   injuring the plaintiff.” Estate of Reat v. Rodriguez, 824 F.3d 960, 965 (10th Cir. 2016). The

   affirmative action taken by Hancock, a state actor in his role as employee and captain of the

   PCSO, was to order officers to enter the Wirth residence, despite Gore’s previous order that this

   not be done specifically because Wirth would shoot at the officers. (See Ex. 2 at 81:9-19, 81:24-

   25, 82:1-4, 83:16-84:9, 87:10-14, 87:20-88:1.) Hancock’s action led to private violence injuring

   the Plaintiffs because Wirth shot at the officers once they entered the residence, injuring Martin

   and Threlkel, and killing Carrigan. (See Dep. of Martin, relevant portions of which are attached

   as Ex. 3, at 209:2-212:6.)

          Having established the “preconditions” for state-created danger, the analysis turns to the

   elements of state-created danger liability. Those elements are:

          (1) the charged state . . . actor[] created the danger or increased plaintiff's
          vulnerability to the danger in some way; (2) plaintiff was a member of a limited

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           and specifically definable group; (3) defendant['s] conduct put plaintiff at
           substantial risk of serious, immediate, and proximate harm; (4) the risk was obvious
           or known; (5) defendants acted recklessly in conscious disregard of that risk; and
           (6) such conduct, when viewed in total, is conscience shocking.

   Estate of Reat, 824 F.3d at 965 (quoting Estate of B.I.C. v. Gillen, 761 F.3d 1099, 1105 (10th

   Cir. 2014)). PCSO and Wegener do not argue the first and second elements above. (See Motion

   at 17-23.) Plaintiffs will address each of the remaining four elements in turn.

                           Hancock’s conduct put Plaintiffs at substantial risk of serious, immediate,
                           and proximate harm

           Hancock ordered Carrigan, Martin, and Threlkel to breach and enter the front door of the

   Wirth residence, with Wirth waiting inside. Once they entered the residence, Wirth shot at them,

   injuring Martin and Threlkel, and killing Carrigan. Hancock’s conduct put the officers in the

   line of fire, and the facts show that this element of state-created danger liability is satisfied.

           According to Hancock, he was the officer in charge of the Wirth eviction. In that

   capacity, he was to oversee the operation and develop a plan for, among other things: where the

   officers would be; what the officers were assigned to do; and the course of action the officers

   would take. (Ex. 1 at 90:8-18.) Wegener acknowledged that the ranking officer on scene during

   the eviction of Wirth was Hancock. (Dep. of Wegener, relevant portions of which are attached

   as Ex. 4, at 239:17-21.) When Wirth went back inside the residence Hancock directed four

   officers to come up to the house. (Ex. 1 at 233:24-234:5.) The facts show that it was Hancock

   who led the officers during the crucial moments of the eviction, and it was Hancock who ordered

   them to breach the door. (Id. at 151:6-12.)

           As explained in greater detail below, before the Wirth eviction Hancock was given a

   direct order by Undersheriff Gore not to breach the Wirth residence. The reason for that order


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   was the danger of entering the residence after Wirth retreated inside. Gore testified that by not

   following Gore’s direct order Hancock exposed the members of the team to great danger. (Ex. 2

   at 140:21-25.) By breaching the door instead of withdrawing to a safe location Hancock brought

   the officers into the “lion’s lair.” (Id. at 141:1-5.) Gore testified that Hancock was aware of the

   risks of breaching the Wirth residence and recklessly disregarded those risks. (Id. at 145:10-19.)

   Gore testified that Hancock’s reckless disregard of the known risks led to Martin and Threlkel

   being shot, and Carrigan and Wirth being killed. (Id. at 145:20-146:10.)

          Hancock’s own testimony shows that he was fully aware of the danger Wirth posed.

   When Wirth went back into the home Hancock began to feel “real uncomfortable” because he

   could not see Wirth. (Ex. 1 at 231:12-21.) At the time of evicting Wirth, Hancock assumed that

   Wirth was armed. (Id. at 95:15-24.) In fact, Hancock testified that before breaching the Wirth

   residence Hancock believed it was “most likely” that Wirth had weapons. (Id. at 126:19-24.)

   The threat posed by Wirth was known by Hancock, as discussed below with regard to the

   “obvious or known” element. That discussion is incorporated herein by reference.

          Defendants argue that risks are inherent in law enforcement. (PCSO and Wegener

   Motion at 15-16; Hancock Motion at 15-16.) That argument, however, is a red herring. Whether

   there are some generalized risks inherent in law enforcement has nothing to do with whether

   Hancock put the Plaintiffs at substantial risk of serious, immediate, and proximate harm. As

   discussed above, it is apparent that Hancock’s order quite literally put the Plaintiffs in the line of

   fire. It was Hancock’s conduct that directly and proximately exposed the Plaintiffs to the

   specific risk at issue here, i.e., being sent directly into Wirth’s ambush, which was thoroughly

   foreseeable to Hancock.


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             The only reason Carrigan, Martin, and Threlkel were put in the virtually-assured risk of

   harm was Hancock’s order that they breach the residence and go inside. Having satisfied this

   element of state-created danger liability, Plaintiffs turn to the next element, whether the risk was

   obvious or known.

                            The risk was obvious or known

             The facts before this Court show that Hancock was well aware of the risk posed by

   Wirth. As recently as approximately one month before the Wirth eviction, Hancock had actual

   knowledge of Wirth threatening to shoot law enforcement officers. On January 20, 2016, Wirth

   was involved in an incident with PCSO officers in which Wirth “stated he was going to get a gun

   and ‘shoot the first cop he sees.’” (PCSO Offense Report 2016000052, attached as Ex. 5, at

   PCSO 001003.) Hancock was a PCSO Captain on duty during the January 20, 2016 incident

   with Wirth. (Ex. 1 at 186:1-187:5.) In fact, Hancock heard the incident unfold on the radio. (Id.

   at 187:1-8.) Prior to the eviction of February 24, 2016, Hancock was aware that Wirth made a

   threat that he was going to shoot the first cop he sees. (Id. at 187:23-188:15.)

             After the January 20, 2016 event with Wirth, Tonjes had a conversation with Hancock

   regarding the threats Wirth made. (Dep. of Tonjes, relevant portions of which are attached as

   Ex. 6, at 129:71-25.) On or about February 22, 2016, only two days before the eviction, Tonjes

   had a conversation with Hancock wherein Tonjes articulated to Hancock that Wirth is highly

   volatile and potentially dangerous. (Id. at 130:10-16.) On the morning of the eviction, Tonjes

   had another conversation with Hancock telling him that Wirth was dangerous. (Id. at 132:21-

   133:1.)

             Gore also communicated to Hancock in no uncertain terms the threat posed by Wirth.


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  Prior to the February 24, 2016, events, Gore had a conversation with Hancock advising Hancock

  that Wirth posed a specific threat. (Ex. 2 at 80:23-25; 81:1-19.) Approximately two-and-a-half

  weeks before the eviction Gore called Hancock into his office and told Hancock that he felt

  Wirth was a “significant threat.” (Id. at 81:1-19.) He told Hancock that: “I wanted to be very

  clear that I considered Wirth extremely dangerous.” (Id.) Gore felt that Wirth was homicidal

  and suicidal. (Id.) He also told Hancock that Wirth wanted to commit “suicide by cop.” (Id.)

         Gore tasked Hancock with doing a risk assessment as well as doing a tactical plan for the

  Wirth eviction. (Id. at 92:17-21.) Gore testified that he got a verbal threat assessment by

  Hancock concerning Wirth. Hancock was aware of the threats that Wirth had made and Hancock

  was aware of the significant threat that Wirth posed. (Id. at 95:17-23.) Based on Gore’s

  direction, Hancock did a threat assessment and arrived at the same conclusion that Gore did: that

  Wirth was extremely dangerous. (Id. at 83:1-11.) As Gore testified:

         [o]nce again, I had significant concerns for the safety of our staff, the safety of the
         citizens and the neighbors in that neighborhood. And I just wanted to make it very
         clear to Captain Hancock that I considered Wirth a significant threat. And as I have
         previously stated, I felt he wanted to commit suicide by cop. And based on
         statements that [Wirth] had made and incidents two weeks prior to that, that [Wirth]
         wanted to have a shootout with law enforcement and take as many of us out as he
         could. And that was my feeling and concern at the time.

  (Id. at 93:2-12.) As to why he gave the order to Hancock: “I felt this situation and I felt Mr.

  Wirth was extremely dangerous. And I was concerned for the welfare of our officers and I was

  concerned for the welfare of the residence and I had a bad feeling about this entire operation.”

  (Id. at 82:21-25, 83:1.)

         Knowledge of the plan was not confined to just Gore and Hancock. Tonjes met with

  Wegener and advised him of the plan to evict Wirth. In that discussion, Tonjes advised Wegener


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  that because Wirth was volatile that if Wirth does not come out of the residence or he refuses to

  leave that the officers were going to withdraw and get an arrest warrant. (Ex. 6 at 75:14-79:7.)

  Wegener understood and agreed with the plan that officers were not to enter the Wirth residence

  should Wirth refuse to come out or leave the residence. (Id. at 79:2-10.) On the morning of

  February 24, 2016, Tonjes articulated to Hancock the “plan” regarding how to handle Wirth

  should he go back into the residence. (Id. at 80:3-12.)

         At the time of evicting Wirth, Hancock assumed that Wirth was armed. (Ex. 1 at 95:15-

  24.) In fact, Hancock testified that before breaching the Wirth residence Hancock believed it

  was “most likely” that Wirth had weapons. (Id. at 126:19-24.) According to Hancock’s CBI

  statement he believed, based on the information he had, that Wirth would become barricaded.

  (Id. at 206:21-207:1.) Hancock testified that when the officers told Wirth that he was being

  evicted Wirth stated, “you’re not even going to give me time to move my stuff out” and then

  went back into his home. (Id. at 224:21-225:18.) Wirth then refused to come out and became a

  barricaded subject. (Ex. 3 at 249:5-8.)

         Based on Hancock’s experience and tenure with PSCO, typically only one to two officers

  were used to evict a person from their residence. (Ex. 1 at 92:4-7.) For the Wirth eviction,

  Hancock had seven officers involved, as well as the Platte Canyon Fire and Rescue on call. (Id.

  at 92:8-93:4.) The eviction of Wirth was the first time in Hancock’s 21 years with PSCO that he

  had the Platte Valley Fire Department on standby for an eviction. (Id. at 96:3-97:5.) This alone

  shows that Hancock knew of the risk posed by Wirth.

         Even if Hancock did not have actual knowledge of the risk posed by Wirth, that risk was

  abundantly obvious. Before the eviction, Gore believed that Wirth posed the highest threat level.


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  (Ex. 2 at 103:17-25; 104:1.) Before the eviction, Gore stated that he had previous awareness that

  Wirth wanted to commit suicide by cop. (Id. at 105:8-20.) This, in Gore’s mind, reinforced the

  threat that Wirth posed. (Id.) Wegner testified that since he has been with PCSO the PCSO

  officers interact with mentally ill people on a recurring basis within Park County. (Ex. 4 at

  40:22-50:3.) Wegner testified that it has been proven time and time again that mentally ill

  people in Park County have proven a safety risk to law enforcement officers. (Id. at 50:4-11.)

  Before the Wirth eviction, and while Wegener was the Sheriff, the PCSO was involved with a

  Park County resident that was getting evicted from his home and proceeded to shoot at Park

  County Sheriff Deputies. (Id. at 40:3-41:9.) On average, and during Wegner’s tenure, PCSO

  dealt with 25-50 evictions per year. (Id. at 43:16-44:8.) The risk posed by Wirth, because of his

  specific behavior in the past and because of the well-known behavior of others like him in the

  county, was obvious to Hancock.

          Hancock argues that Wirth’s behavior “would have led a reasonable officer to believe

  that Mr. Wirth intended to grab a few of his belongings and leave the house.” (Hancock Motion

  at 17.) This only serves to underscore the egregiousness of Hancock’s conduct. If Hancock

  thought Wirth was just going to “grab a few of his belongings and leave the house,” the order to

  kick down the door and invade the house with guns drawn is particularly shocking.

                            Hancock acted recklessly in conscious disregard of that risk

          Despite his knowledge of the risk posed by Wirth, Hancock recklessly exposed the other

  officers to that risk, in complete disregard of the consequences he had been directly warned

  about. The facts before the Court show that the “reckless” element of state-created danger

  liability is satisfied.


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          [R]eckless intent does not require that the actor intended to harm a particular
          individual; reckless intent is established if the actor was aware of a known or
          obvious risk that was so great that it was highly probable that serious harm would
          follow and he or she proceeded in conscious and unreasonable disregard of the
          consequences. Thus, reckless intent involves disregard of a particular risk rather
          than intent to cause a particularized harm.

  Medina v. City & County of Denver, 960 F.2d 1493, 1496 (10th Cir. 1992) (citation omitted).

          There can be little debate that Hancock had actual knowledge of the serious risk posed by

  entering the Wirth residence. As discussed elsewhere in this Response, Gore ordered Hancock

  that under no circumstances were they to enter the Wirth residence. (Ex. 2 at 81:17-19, 87:10-

  14.) Gore testified:

          Approximately two weeks, two and a half weeks, prior to this operation being
          conducted, I had called Captain Hancock into my office and advised him that I felt
          Wirth was a significant threat. Told him that during the operation, I wanted to be
          very clear that I considered Wirth extremely dangerous. I felt he was homicidal
          and suicidal. I felt he wanted to commit suicide by cop and take as many officers
          with him as he could. I directed Captain Hancock that under no circumstances
          whatsoever were they to enter Wirth’s residence.

  (Id. at 81:9-19.)

          There would have been no ambiguity. I gave the order and made it crystal clear
          that under no circumstances was he to enter the residence. I made it clear that I felt
          Wirth was highly volatile and dangerous and that I felt Mr. Wirth wanted to commit
          suicide by cop and take as many officers with him as he could.

  (Id. at 87:20-88:1.)

          Gore’s orders to Hancock went beyond merely prohibiting entering the Wirth residence.

  Gore also outlined the plan for the eviction with Hancock. On February 12, 2016, Gore

  communicated the tactical plan to Hancock, as well as the direct order not to breach the Wirth

  residence. (Id. at 109:13-17.) Gore testified to the details of the plan as follows:

          This was a tactical operation from the very get-go. The operation had two phases.
          We knew that Mr. Wirth was extremely volatile and dangerous and most likely

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         armed. The first phase of the operation was officers were supposed to, under the
         tactical plan, make an attempt to get Mr. Wirth out of the house in a peaceable
         manner.

         I had anticipated that Mr. Wirth may come out of the residence and go back in. And
         typically in my experience as a peace officer, they will come out of the residence
         to assess how many officers you have and assess the situation themselves. When
         they go back in the residence or if they go back in the residence, at that point the
         operation should be considered a barricade suspect operation. And the officers,
         under the plan that Hancock and I discussed, were supposed to withdraw to the
         perimeter, at which time I was supposed to be given a phone call to assess what we
         were going to do at that point.

  (Id. at 83:16-84:9.) Hancock responded to Gore that he understood the order and that he would

  follow the directive and that “I could trust [Hancock] that no one would be hurt in this

  operation.” (Id. at 82:8-20.) The tactical plan as discussed with Hancock was an order by Gore

  to Hancock. (Id. at 84:16-19.) Gore further explained the plan put in place for the foreseeable

  scenario of Wirth retreating into the residence:

         Q. Okay. So based on your tactical plan if Mr. Wirth chose not to come to the
         door, was it your belief that they should have retreated?

         A. Yes.

         Q. And that was essentially a direct order from you to Hancock?

         A. Yes.

         Q. Okay. Let’s keep going on this thing. “I became concerned. I was concerned
         as to where Mr. Wirth was, to include the possibility that he was exiting the house
         to a vacated perimeter spot or simply hiding in the house.” Do you see that?

         A. Yes.

         Q. Do you think that is a valid concern based on phase one of your tactical plan?

         A. No.

         Q. Why not?

         A. According to phase one, the officers should have been put in a position in a

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         perimeter around the house to begin with, so that if Mr. Wirth exited from any side
         of the house, it could be reported to the officers. Additionally, topography and
         trailers or whatever the tactical issues at the residence are, whatever they were at
         the time, should have already been addressed. And how they were going to
         withdraw should have already been addressed as well.

  (Id. at 139:1-140:2.) Hancock did not request to change the tactical plan after it was discussed

  between him and Gore on February 12, 2016. (Id. at 114:15-21.)

         Hancock’s conduct was particularly reckless because it ran contrary to his own prior

  training and experience. Based on Hancock’s SWAT training, he understood that looking inside

  a home window is not the best way to understand the full layout of the entire house before

  breaching the residence. (Ex. 1 at 133:1-5.) Before evicting Wirth, Hancock did not conduct

  any research of the interior of the Wirth home (Id. at 130:22-131:1), nor did he know the specific

  layout of Wirth’s home (Id. at 129:19-22). Hancock’s limited knowledge of the interior of the

  Wirth home before breaching was from merely looking inside a window. (Id. at 131:23-132:3.)

  The window Hancock looked into was a small window portion in the door. The door window

  did not give Hancock a clear view of the entire inside of the Wirth home. (Id. at 228:16-229:16.)

  In fact, when looking into the window Hancock could not see Wirth. (Id. at 228:16-19.)

  Hancock never looked into any other window in the Wirth residence nor did he direct any

  officers to do so either. (Id. at 229:20-230:3.) Despite his own knowledge about the importance

  of knowing the layout of a home before breaching that home, and his failure to take any steps to

  gain such knowledge, Hancock ordered the officers to breach the residence. Notably, when

  Wirth went back into the residence Hancock acknowledged that there was no immediate

  emergency occurring based on Wirth’s actions. (Id. at 238:13-239:1, 239:25-240:6.) This makes

  his order to breach the residence all the more egregious.


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         This is not a situation in which there could be any doubt about who Hancock was putting

  in danger. Carrigan, Martin, and Threlkel were “stacked” at the front door and Hancock ordered

  them to force entry into the residence. Knowing the risk posed by Wirth, Hancock sent a limited

  and specifically definable group of officers into the substantial risk of serious, immediate, and

  proximate harm. While Plaintiffs do not argue that Hancock had the intent to harm these

  officers, Hancock did act recklessly in conscious disregard of the risk of serious harm. The facts

  show that Hancock had actual knowledge of that risk, and the severity of the risk.

         When Hancock did not retreat when Wirth went back into the residence, and instead

  began to knock numerous times on the door, Hancock was in violation of Gore’s order and

  Hancock was insubordinate. (Ex. 2 at 140:12-20.) Hancock acknowledged that within PCSO it

  is important to follow orders from superior officers. (Ex. 1 at 39:11-19.) When Hancock was a

  Captain at PCSO he was a subordinate officer to Gore. (Id. at 56:24-57:2.) As admitted by

  Hancock, when Gore was undersheriff and Gore gave Hancock a direct order Hancock was

  required to follow it. If he failed to follow a direct order then Hancock would have been

  insubordinate. (Id. at 57:13-25.)

         Gore testified that Hancock was aware of the risks of breaching the Wirth residence and

  recklessly disregarded those risks. (Ex. 2 at 145:10-19.) Gore also testified that by recklessly

  disregarding, and outright ignoring, the known risks, Hancock’s conduct led to the serious

  injuries to Martin and Threlkel, and the deaths of Carrigan and Wirth. (Id. at 145:20-146:10.)

         Hancock knew of the specific and serious risk posed by forcing entry into the Wirth

  residence, yet Hancock recklessly disregarded that risk and ordered the officers to breach the

  residence, leading to the grim outcome explicitly predicted by Gore.


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                         Hancock’s conduct, when viewed in total, is conscience shocking

         When Hancock ordered the officers to breach the Wirth residence, Hancock violated a

  direct order from a superior, ignored his own knowledge and the warnings of others about the

  risk posed by Wirth, ignored a plan that had been previously devised for precisely the situation

  that arose, and disregarded the fact that there was no exigency or emergency requiring forced

  entry into the residence. “[T]he shocks-the-conscience part of such a claim concerns the

  defendant’s conduct as a whole. This includes both action and inaction.” Estate of B.I.C. v.

  Gillen, 710 F.3d 1168, 1174 (10th Cir. 2013) (quotation marks and citation omitted). When

  viewed as a whole Hancock’s actions and inactions are not merely negligent, but amount to the

  rare case that truly shocks the conscience.

         Prior to the eviction, Hancock was given a direct order not to enter the residence if Wirth

  retreated back inside because of the substantial risk that Wirth would shoot at the officers. As

  discussed above, Gore spoke to Hancock approximately two or two-and-a-half weeks prior to the

  eviction and told Hancock that Wirth was a significant threat. (Ex. 2 at 81:9-19.) Gore ordered

  Hancock “that under no circumstances whatsoever were they to enter Wirth’s residence.” (Id.)

  Hancock told Gore that Hancock understood, and would follow, the order. (Id. at 82:8-20.)

  Gore also made clear to Hancock that Wirth was homicidal and suicidal, and Wirth wanted to

  commit suicide by cop and would take as many officers with him as he could. (Id. at 81:9-19.)

  Only two days before the eviction, Tonjes also articulated to Hancock that Wirth is highly

  volatile and potentially dangerous. (Ex. 6 at 130:10-16.) Hancock even did his own threat

  assessment of Wirth and arrived at the same conclusion that Gore did: that Wirth was extremely

  dangerous. (Id. at 83:1-11.) At the time of evicting Wirth, Hancock assumed that Wirth was


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  armed. (Ex. 1 at 95:15-24.) In fact, Hancock testified that before breaching the Wirth residence

  Hancock believed it was “most likely” that Wirth had weapons. (Id. at 126:19-24.) According

  to Hancock’s CBI statement he believed, based on the information he had, that Wirth would

  become barricaded. (Id. at 206:21-207:1.) Hancock went so far as to use more than three times

  as many officers for the Wirth eviction as he normally would, and took the unprecedented step of

  having Platte Valley Fire Department on standby. (Id. at 92:4-93:4, 96:3-97:5.) Despite all this,

  and despite Hancock’s awareness of the importance of following orders (Id. at 39:11-25),

  Hancock disobeyed the direct order given by Gore (Ex. 2 at 140:12-20; Ex. 1 at 57:13-25).

  Hancock’s insubordination, which led directly to the grievous outcome that the order was

  intended to prevent, is part of Hancock’s conscience-shocking conduct.

         Another important aspect of Hancock’s “conduct as a whole” is that prior to the eviction

  Hancock knew that Wirth was dangerous, likely to be armed, and threatened to shoot law

  enforcement officers. Prior to the eviction of February 24, 2016, Hancock was aware that Wirth

  made a threat that he was going to shoot the first cop he sees. (Ex. 1 at 187:23-188:15.)

  Hancock was aware of the threats that Wirth had made and that Wirth posed a significant threat.

  (Ex. 2 at 95:17-23.) On or about February 22, 2016, only two days before the eviction, Tonjes

  had a conversation with Hancock wherein Tonjes articulated to Hancock that Wirth was highly

  volatile and potentially dangerous. (Ex. 6 at 130:10-16.) On the morning of the eviction, Tonjes

  had another conversation with Hancock telling him that Wirth was dangerous. (Id. at 132:21-

  133:1.) Approximately two-and-a-half weeks before the eviction Gore called Hancock into his

  office and told Hancock that he felt Wirth was a “significant threat.” (Ex. 2 at 81:1-19.) He told

  Hancock that: “I wanted to be very clear that I considered Wirth extremely dangerous.” (Id.) At


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  the time of evicting Wirth, Hancock assumed that Wirth was armed. (Ex. 1 at 95:15-24.) In fact,

  Hancock testified that before breaching the Wirth residence Hancock believed it was “most

  likely” that Wirth had weapons. (Id. at 126:19-24.) This is not a situation in which there was

  any doubt about what lay in wait behind the front door of the Wirth residence. Hancock was

  warned about the risk posed by Wirth, and Hancock had actual knowledge of the danger, yet

  Hancock ordered the officers to breach the residence anyway, needlessly putting lives in

  jeopardy.

         One of the most shocking aspects of this case is that there was a plan in place ahead of

  time for exactly the situation that confronted Hancock, yet Hancock inexplicably disregarded

  that plan and sent the officers into the line of fire. As discussed elsewhere in this Response,

  Gore discussed the plan with Hancock, including the eventuality of Wirth retreating into the

  residence. The plan as outlined by Gore, and Gore’s direct order to Hancock, are discussed

  elsewhere and need not be repeated in full. The plan is also significant, however, because even

  in the hours leading up to the eviction, Hancock assured the officers that they would not be

  breaching the Wirth residence. At the substation for the briefing regarding the Wirth eviction,

  Martin recalls a deputy asking Hancock whether they would go in after Wirth if he stayed in the

  residence, and Hancock said they would not. (Ex. 3 at 142:13-25.) After the briefing and while

  at the fire station Martin heard Deputy Lowrance ask Hancock if Wirth does not come out of the

  residence we are not going inside, and Hancock responded: “you’re correct, we’re not going

  inside.” (Id. at 148:20-149:17.) Even in the moments before breaching the residence, at least

  one of the officers was still working under the impression that they would not be breaching.

  Hancock called Martin up to the front door and at that point, Martin was thinking to himself


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  “why are we getting called up to the door? There shouldn’t be any reason. He’s not coming out.”

  (Id. at 175:21-176:1.) When Martin got to the front door he did not verbalize his concern

  because failure to follow orders would be insubordination. (Id. at 178:5-23.) The officers

  bravely followed Hancock’s order, however, resulting in serious injuries and deaths.

         Hancock’s order that the officers breach the Wirth residence was all the more shocking

  because there was no need to breach the residence. The Court need look no further than the

  testimony of Hancock himself: when Wirth went back into the residence Hancock acknowledged

  that there was no immediate emergency occurring based on Wirth’s actions. (Ex. 1 at 238:13-

  239:1, 239:25-240:6.) In his Motion, Hancock argues that Wirth’s behavior “would have led a

  reasonable officer to believe that Mr. Wirth intended to grab a few of his belongings and leave

  the house.” (Hancock Motion at 16-17.) This only serves to underscore the egregiousness of

  Hancock’s conduct. If there was no emergency, and a reasonable officer would believe that

  Wirth just intended to grab a few belongings and then leave the house, why defy a direct order

  and send armed officers into the “lion’s lair?” There is simply no reasonable explanation, and

  Hancock’s conduct goes beyond being merely unreasonable.

         Contrary to his own deposition testimony that there was no emergency when Wirth went

  back into the residence, in his Motion Hancock argues that “[i]t is reasonable for police to move

  quickly if ‘delay would gravely endanger their lives or the lives of others.’” (Hancock Motion at

  19 (quoting City & Cnty. of San Francisco v. Sheehan, 135 S. Ct. 1765, 1775 (2015)).) After

  Wirth retreated into the residence, he was not a danger to anyone. The officers were outside,

  where they could retreat to form a perimeter as previously planned. Wirth was inside the

  residence alone. The only thing at that point that could “gravely endanger their lives or the lives


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  of others” was to send the officers into the Wirth residence, which is exactly what Hancock did.

             It is important to remember that after retreating into his residence, Wirth was not a threat

  to anyone. (Ex. 1 at 227:20-228:6.) Wirth had not committed a crime; the officers were there to

  conduct an eviction, which is not a criminal matter. See C.R.S. § 13-40-101 et seq. Wirth was

  not charged with any crime, not was Wirth fleeing from the commission of any crime. That

  Hancock would order the officers to breach the residence with guns drawn, in the face of the

  known risk involved in that course of action, is all the more egregious because there was no

  crime involved.

             Though Defendants hope to paint the picture of a sudden emergency requiring a split-

  second decision, that is simply not the facts of this case. When Wirth went back into the

  residence, there was no emergency requiring immediate action. Also, if there was any question

  about what to do at that point, Hancock only needed to refer to the plan devised ahead of time.

  That plan envisioned the very scenario that confronted Hancock: Wirth retreating into the

  residence. (Ex. 2 at 83:16-84:9.) Hancock had time to reflect on the situation. This is not a case

  of an officer faced with an unexpected emergency requiring an immediate decision. This case is

  the opposite, which reinforces the conscience-shocking nature of Hancock’s conduct.

             Hancock’s conduct was contrary to PCSO policy that governed the precise situation he

  was facing. At the time of the Wirth eviction, PCSO had a hostage/barricade policy in effect.2

  (Ex. 2 at 158:5-21.) All member of PCSO were required to follow the policy. (Id. at 158:22-

  159:2.) Under the policy, when Wirth went back into the residence he was considered a

  barricaded subject. (Id. at 159:6-17.) Under the barricade policy, when Wirth went back into the


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      A copy of the “Hostage/Barricaded Subject Incidents” policy is attached as Ex. 7.

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  residence there was a reasonable belief that he would commit serious bodily injury or death to

  officers. (Id. at 160:13-20.) Under Section III of the barricaded policy, it is the policy (which is

  not discretionary) to place the lives of the hostage, civilians, and officers as the utmost

  importance and the officers are to peacefully resolve the incident through communication with

  the suspect. (Id. at 161:13-162:7.) Gore monitored the radio during the eviction and there were

  no attempts by Wegener or Hancock to communicate with Wirth. (Id. at 162:19-24.) Under the

  barricade policy, there was no basis or justification to tactically enter the residence. (Id. at

  163:22-164:17.) In addition to being contrary to policy, Hancock’s conduct was contrary to a

  direct order from his superior officer (as discussed above).

         Hancock’s conduct was also inconsistent with his own experience and training. Based on

  Hancock’s SWAT training, he understood that if possible it is best to know the layout of a

  building before entering the building. (Ex. 1 at 130:2-7.) Hancock also knew from his training

  and experience that looking inside a home window is not the best way to understand the full

  layout of the entire house before breaching the residence. (Id. at 133:1-5.) Yet, Hancock’s

  knowledge of the interior of the Wirth home before breaching was from simply looking inside a

  window. (Id. at 131:23-132:3.) The window Hancock looked into was a small window portion

  in the door. The door window did not give Hancock a clear view of the entire inside of the Wirth

  home. (Id. at 228:16-229:16.) In fact, when looking into the window Hancock could not see

  Wirth. (Id. at 228:16-19.) Hancock never looked into any other window in the Wirth residence

  nor did he direct any officers to do so. (Id. at 229:20-230:3.) Before breaching the residence,

  Hancock did not know the specific layout of Wirth’s home. (Id. at 129:19-22.) Hancock did not

  conduct any research of the interior of the Wirth home. (Id. at 130:22-131:1.) At the time of the


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  breach Hancock believed he could just “grab” Wirth, however, he did not know where Wirth was

  in the residence. (Id. at 261:5-14.) In sum, Hancock knew that Wirth was likely to be armed,

  knew that Wirth had previously threatened to shoot law enforcement officers, did not know the

  layout of the house or where Wirth was in the house, yet Hancock ordered the officers to breach

  the residence so that Hancock could somehow “grab” Wirth. This not only defies his training

  and PCSO policy, it defies common sense.

         Finally, Hancock himself has acknowledged that he did not handle the Wirth eviction

  properly. In his interview with CBI, Hancock stated: “I really feel like he’s barricading or, you

  know, something bad’s going to happen and I really regret that I’m a Marine sometimes because

  I am super aggressive….” (Hancock CBI Interview, relevant portions of which are attached as

  Ex. 8, at CARRIGAN 019142; see also Ex. 1 at 197:10-17.) Hancock also stated that he was

  “second guessing and worrying that I messed something up….” (Ex. 8 at CARRIGAN 019155.)

  Even though the plan going into the eviction was to retreat and form a perimeter if Wirth went

  back into the residence, Hancock admits that he did not think about retreating before breaching

  the Wirth residence. (Ex. 1 at 254:3-5.)

         Leading up to the Wirth eviction, Hancock knew that Wirth was a threat to law enforcement

  officers and that Wirth may retreat into his residence when faced with eviction. A plan was put in

  place for that scenario, and Hancock was given a direct order not to enter the residence. Even in

  the hours leading up to the eviction, Hancock assured the other officers involved that they would

  not be breaching the residence. When the very situation that was previously envisioned came to

  fruition, Hancock defied the plan, a direct order, his own training, and common sense when he

  ordered other officers to breach the residence. That conduct had the exact result that Hancock was


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  warned about, i.e., Wirth started shooting at the officers. Hancock’s reckless conduct led directly

  to Martin and Threlkel being seriously injured, and Carrigan and Wirth dying. Hancock’s reckless

  disregard for the lives of others, including subordinate officers who looked to him for leadership

  and bravely followed his orders, is truly conscience-shocking.

         b.       The Sheriff’s Office delegated authority to Hancock

         The Supreme Court has recognized that lawfully empowered decision makers cannot

  insulate themselves from liability under section 1983 by knowingly allowing a subordinate to

  exercise final policymaking authority vested by law in the decision makers. See Ware v. Unified

  Sch. Dist. No. 492, 902 F.2d 815, 818 (10th Cir. 1990). A municipal policy is a “policy statement,

  ordinance, regulation, or decision officially adopted and promulgated by [a municipality's]

  officers." An act committed by an official who has been delegated the power of "establishing

  final policy" will also constitute a municipal policy. Novitsky v. City of Aurora, 491 F.3d 1244,

  1259 (10th Cir. 2007) citing to Pembaur v. City of Cincinnati, 475 U.S. 469, 483, 106 S. Ct. 1292,

  89 L. Ed. 2d 452 (1986). In determining whether an individual is a "final policymaker" the Court

  looks at three elements: (1) whether the official is meaningfully constrained "by policies not of

  that official's own making;" (2) whether the official's decision are final--i.e., are they subject to

  any meaningful review; and (3) whether the policy decision purportedly made by the official is

  within the realm of the official's grant of authority. See Randle v. City of Aurora, 69 F.3d 441,

  448 (10th Cir. 1995). As will be discussed below, Hancock was a final policymaker as it pertains

  to the eviction of Martin Wirth.

         At all times relevant, on February 24, 2016, Park County Sheriff’s Office Policy 510 was

  in effect. See Exhibit 7; see also, Ex. 2 at 158:5-21. Under Policy 510 it identifies when a PCSO


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  member is to be an Officer in Command (OIC) and what duties the OIC has as the ranking officer

  at the scene. Pursuant to Policy 501, the OIC as the ranking officer, “shall be in command until

  specifically relieved by a superior.” See Ex. 7, p.2. [Emphasis added] Said another way, unless

  relieved by a superior, the OIC is in command of the operation at the scene. In regard to the

  eviction of Wirth, Hancock was the OIC. In fact, Wegener testified to the following salient points:

  (1) Wegener gave Hancock the authority to make the tactical plan to evict Martin Wirth (Ex. 4 at

  146:7-147:2); (2) under Policy 510, Hancock was the OIC (Ex. 4 at 239:11-21); (3) even though

  Wegener was the most senior officer that appeared on scene for the Wirth eviction that Wegener

  did not assume command (Ex. 4 at 199:23-200:1); and (4) Wegener admits that he never took

  command from Hancock and, as such, Hancock was still in charge of the entire operation regarding

  the eviction of Wirth (Ex. 4 at 199:23-200:1).3 With Policy 510 being in effect at the time of the

  eviction, and Hancock being the OIC, the decisions Hancock made on scene were not restrained

  by the at-issue policy nor were his decisions subject to any “meaningful review” by the Sheriff,

  who was the authorized policymaker.4 See Exhibit 7.5 In fact, where Hancock sought permission

  to breach the residence by Wegener, Wegener himself did not know why Hancock asked

  permission to breach by virtue of Hancock’s position as the OIC. (See Ex. 4 at 199:10-200:9).

  This latter fact reveals that Hancock had the final authority to breach the residence without a

  meaningful avenue for review from the Sheriff himself. Starrett v. Wadley, 876 F.2d 808, 818-19

  (10th Cir. 1989) (Wadley had final authority to set employment policy as to the hiring and firing


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    Wegener testified that under Policy 510, the OIC would need to inform the watch commander about the nature and
  circumstances surrounding the incident; however, because Hancock was the patrol commander (along with the fact
  that PSCO does not have watch command) Hancock was not required to do this regarding Martin Wirth. See Ex. 4 at
  240:9-241:3).
  4
    Reviewing Policy 510, it does not identify any constraints that are placed upon the OIC. See Ex. 7.
  5
    Gore testified that all PCSO personnel, including the Sheriff, are to follow Policy 510. (Ex. 2 at 158:22 – 159:2).

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  of his staff because City did not offer any meaningful avenues of review). Based on the foregoing,

  Hancock was the final policymaker concerning the February 24, 2016 eviction of Martin Wirth.

  The causal link between the conduct of Hancock, the final policymaker, and the state-created

  danger constitutional violation is discussed above.

         Assuming arguendo that the Court does not find that Hancock was a final policymaker,

  Wegner as the Sheriff certainly was. There is evidence that Hancock sought permission from

  Wegner to breach the residence. (Ex. 1 at 256:1-5). According to Hancock, he asked Wegner

  permission to breach the Wirth home and Wegner said “go”. Id. Based on the conversation

  Hancock had with Wegener, Hancock then ordered the breach. (Ex. 3 at 188:2-7). Thus,

  Wegener’s actions were as a final policymaker.

         The Defense will likely argue that if Wegner then ordered the breach that such order then

  nullifies and/or overrides any order previously given by Gore. First, if such argument is in fact

  made by the Defense that is an argument that the Defendants bear the burden to prove, not the

  Plaintiffs, because it is a defense rather than an element of one of Plaintiffs’ claims for relief.

  Second, there are conflicting facts as to whether Hancock would in fact have to follow the “order”

  to breach by Wegener or not. As set forth previously herein, Gore testified that he gave Hancock

  a direct order not to breach the residence and the fact that Hancock failed to follow that direct order

  he was insubordinate. (Ex. 2 at 138:18-140:20). Based on the foregoing, at a minimum there are

  unresolved questions of fact as to who the final policymaker was on February 24, 2016. As such,

  this Court should not dismiss this case on summary judgment.




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  D.    Wegner is entitled to summary judgment on deliberate indifferent training and
  supervision

         1.      Burden of Proof

         Plaintiffs do not dispute that they bear the burden of proving by a preponderance of the

  evidence each of the elements of danger creation.

         2.      Elements that Wegener is entitled to summary judgment regarding danger creation

         Plaintiffs concede that Wegener, in his individual capacity, is entitled to summary

  judgment regarding being deliberately indifferent to training and supervision

  E.     The PCSO and Wegener in his official capacity are not entitled to summary judgment
  based on deliberate indifferent training and supervision

         1.      Burden of Proof

         Plaintiffs do not dispute that they bear the burden of proving by a preponderance of the

  evidence each of the elements of deliberate indifferent training and supervision.

         2.      Elements that Plaintiffs can prove

         In evaluating and researching cases concerning failure to train and supervise in a law

  enforcement context, the cases for municipal liability appear to only address failure to train as

  applied in a use of force setting under the Fourth Amendment and/or Fourteenth Amendment. If

  there is a separate and distinct standard as applied to Fourteenth Amendment violations for failure

  to train when there is no allegation of use of force, the undersigned has not been able to locate

  those specific cases. To that end, the standard as applied by the Tenth Circuit for failure to train

  is as follows: (1) the officers exceeded constitutional limitations; (2) conduct arose under

  circumstances that constitute a usual and recurring situation with which police officers must deal;

  (3) the inadequate training demonstrates a deliberate indifference on the part of the city toward


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  persons with whom the police officers come into contact, and (4) there is a direct causal link

  between the constitutional deprivation and the inadequate training. Allen v. Muskogee, 119 F.3d

  837, 841-42 (10th Cir. 1997)6 ; see also, Sutton v. Utah State Sch. for the Deaf & Blind, 173 F.3d

  1226, 1240 (10th Cir. 1999)(The same standard of deliberate indifference applies to both

  inadequate training and inadequate supervision).

             In regard to the first element, as to whether the Sheriff’s Office violated Plaintiffs’

  constitutional rights, please refer to the arguments set forth herein as it pertains to state creation

  danger. In addition, where a superior's failure to train amounts to deliberate indifference to the

  rights of persons with whom his subordinates come into contact, the inadequacy of training may

  serve as the basis for § 1983 liability. Sutton, 173 F.3d at 1240. As admitted by Wegner, the

  Sheriff Department is responsible to develop, implement and administer training to all of its

  officers. (Ex. 4 at 76:10-14). As will be discussed in turn below, the PCSO failed in its

  responsibility to provide required training to the subordinate officers (i.e. the Plaintiffs), which

  inaction now serves as a violation of the Plaintiffs’ constitutional rights.

             Under the second element under a failure to train (i.e. a usual and recurring situation with

  which police officers must deal) that has been established. To that end, the following facts have

  been testified to by Wegener: (1) the PCSO encounters a member of the public that is mentally ill

  once a week. (Ex. 4 at 49:16-21); (2) Wegner testified that since he has been with PCSO that PCSO

  deputies interact with mentally ill people as a reoccurring event within Park County(Ex. 4 at 40:22-

  50:3); (3) Wegner testified that based on his position with PCSO that it has been proven time and

  time again that mentally ill people in Park County have proven a safety risk to law enforcement


  6
      The elements as set forth above addressed specifically “use of force”.

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  officers (Ex. 4 at 50:4-11); Wegner’s own personal experience at PCSO had him personally interact

  with a mentally ill person in Park County that posed a safety risk to Sheriff Deputies was about

  twice a week. (Ex. 4 at 52:12-53:3). Similar to Wegner’s testimony is Hancock who likewise

  testified as follows: (1) based on his tenure with PCSO he would interact with at least one mentally

  ill person per week (Ex. 1 at 180:4-14) and (2) Hancock understood that mentally ill people that

  officers come into contact with may pose a safety risk to the officer. (Id. at 180:15 to 181:5).

  Finally, during Wegener’s tenure as Sheriff, the PCSO on average would participate in twenty-

  five (25) to fifty (50) evictions per year. (Ex. 4 at 43:16-44:8). On that point, Hancock testified

  that he assumes everybody in Park County is armed. (Ex. 1 at 95:19-96:3). In sum, the above facts

  establish that the PCSO deals with mentally ill people that are likely armed on a daily basis which

  people pose a risk to officer safety.

         With regard to the third factor, the Tenth Circuit has written as follows as to the showing

  a plaintiff must establish for a claim of deliberate indifference:

         The deliberate indifference standard may be satisfied when the municipality has
         actual or constructive notice that its action or failure to act is substantially certain
         to result in a constitutional violation, and it consciously or deliberately chooses to
         disregard the risk of harm. In most instances, notice can be established by proving
         the existence of a pattern of tortious conduct. In a narrow range of circumstances,
         however, deliberate indifference may be found absent a pattern of unconstitutional
         behavior if a violation of federal rights is a highly predictable or plainly obvious
         consequence of a municipality's action or inaction, such as when a municipality
         fails to train an employee in specific skills needed to handle recurring situations,
         thus presenting an obvious potential for constitutional violations.

  Barney v. Pulsipher, 143 F.3d 1299, 1307-08 (10th Cir. 1998)

         Viewing the record and drawing reasonable inference in favor of the Plaintiffs, there is

  sufficient evidence to raise a jury question as to the third factor. First, the Plaintiffs concede that

  based on the information received in discovery there is no evidence of any previous incident

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  involving a PCSO law enforcement officer being killed by a Park County resident which resident

  was in the throes of a mental episode that caused private violence. However, as Barney sets forth,

  deliberate indifference may be found absent a pattern of unconstitutional behavior if a violation of

  federal rights is highly predictable. As noted above, by Wegner’s and Hancock’s own admission,

  the PCSO deals with mentally ill people on a daily basis, which people pose a safety risk to law

  enforcement officers. In addition, and accepting Hancock’s testimony as true, based on his

  experience in Park County, he assumes every resident in the county is armed. To that point, there

  was a prior incident to the Wirth eviction wherein the PCSO was dispatched to a Park County

  resident’s home who was being evicted and the resident began to shoot at the Sheriff Deputies.

  (Ex. 4 at 40:3-41:9). Ultimately, that resident died by his own hands. Id. Where no PCSO deputy

  was killed in that prior incident Wegener did acknowledge that there is a potential that the Sheriff’s

  Office will have to evict a person that poses a high risk to officer safety, as noted by the prior

  incident as well at the events regarding the Wirth eviction. (Id. at 45:11-19). Notably, at the time

  of the Wirth eviction, the PCSO had no policy in effect on how PCSO deputies are to deescalate a

  person that is experiencing a mental health issue. (Id. at 57:18-60:7). The policy that was in effect

  at the time of the Wirth eviction was a procedure on how deputies are to place a mentally ill person

  into custody on a 72-hour hold. Id.

           Absent a specific policy on how to deescalate a person that is experiencing a mental health

  issue, Wegener testified that the only training received by PSCO deputies is calling into a Colorado

  Crisis Hotline. (Id. at 60:8-22).7 However, where Wegener cannot recall whether such training



  7
    Wegener testified that the need for the hotline training occurred because of the number of mentally ill people moving
  into rural Colorado and the fact that PCSO has to deal with these people frequently. (Ex. 4 at 63:11-24).

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  on the hotline occurred before or after the Wirth incident, he acknowledged that it was not

  mandatory training but only suggested training. (Id. at 62:1-9; 64:13-20). In fact, Wegener did

  not know whether all 18 sworn PCSO patrol deputies received training but believed the officers

  would get the training either voluntarily or when they are out on the field dealing with the issue.

  (Id. at 64:5-65:18).

          With a question of fact as to whether the hotline training was provided either before the

  Wirth eviction or not, what is undisputed is that only one or two PCSO deputies were Crisis

  Intervention Trained (CIT) as of February 24, 2016. (Id. at 68:4-11). As Dan Montgomery,

  Plaintiffs’ expert in the field of police tactics opined, crisis intervention training is vital to helping

  equip officers with the tools they need to ensure the safety of people who may be struggling with

  the effects of their illness. The goal of CIT is to train law enforcement officers in the recognition

  of mental illness, to enhance their verbal crisis de-escalation skills, and to provide more

  streamlined access to community-based mental health services. (See Dan Montgomery’s rebuttal

  report, attached as Ex. 9). Wegener even acknowledged that CIT trained officers provides a benefit

  for law enforcement agencies in dealing with critical incidents. (Ex. 4 at 67:1-8). Where CIT

  training has been around since 1988 (Ex. 9) Wegener did not require that his officers undergo CIT

  training at all. (Ex. 4 at 67:9-12). In fact, there was not even a mechanism in place at the PCSO

  that would require a CIT trained PCSO deputy to respond to situations where a CIT officer is

  required. (Id. at 72:4-10).

          Why does a lack of training on dealing with mentally ill residents give rise to deliberate

  indifference in this case? Based on the mentally ill population that PSCO officers deal with on a

  day-to-day basis it was highly probable that a PCSO deputy would be subject to private violence


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  from a mentally ill resident which resident (according to Hancock) is likely armed. (Ex. 1 at 95:19-

  96:3). By not providing the officers with the requisite skills in dealing with mentally ill persons

  in Park County, the PCSO exposes those officers to real private violence. A case illustrative and

  instructive on the issues presently before this Court is the holding in Estate of Jaime Ceballos v.

  City of Thornton, et al, 2017 U.S. Dist. LEXIS 84309 (Dist. Colorado, June 1, 2017).8

             In Ceballos, Thornton Officers responded to a call of a person that was holding two

  baseball bats and “acting crazy”. Based on the facts presented to the Court, within one minute of

  the officers arriving on scene the officer shot and killed Ceballos. In evaluating aspects of the City

  of Thornton’s training, the Court noted the following:


             Every Thornton police officer receives training on proper use of force, including
             deadly force. It is disputed to what extent Thornton has policies or provides training
             regarding the use of force against mentally ill, emotionally disturbed, or disabled
             individuals.

             Thornton offers a 40-hour Crisis Intervention Training (CIT) course that
             specifically deals with using force and interacting with the mentally ill, emotionally
             disturbed, or individuals in crisis. CIT is specifically designed to train officers to
             deal with people in crisis by using techniques such as maintaining safety by using
             time and distance; taking steps to calm the situation by using quiet voices; avoiding
             getting too close, too fast; not rushing into the situation; assessing the need for
             backup; making a plan with fellow officers for the best course of action; gathering
             information from those on the scene; avoiding escalating the situation;
             communicating in a calm, non-threatening manner; not having multiple people
             giving commands at the same time; and containing the subject by establishing a
             perimeter.

             CIT training is not mandatory in Thornton, and only some 50% of its officers are
             CIT-trained. Written City policy states that it is "recommended" that "[w]henever
             possible" a CIT-trained officer will respond to calls involving persons who are
             mentally ill or experiencing a crisis (such as persons "exhibiting unusual
             behavior"), but there is no policy or mechanism to ensure that a CIT-trained officer


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      A copy is attached for the Court’s convenience as Ex. 10.

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         responds to calls that involve such situations. Plaintiffs have provided expert
         opinion that Thornton is not in compliance with industry standards in this regard.

         Although CIT training is not mandatory, Thornton asserts that it provides other
         training that incorporates similar tactics for dealing with persons suffering from a
         mental health problem or thought to be on drugs or alcohol. This assertion is put in
         dispute by Thornton's own Rule 30(b)(6) witness, Commander Vitgenos, who
         testified that no training is provided by Thornton, other than CIT training, with
         respect to how to deal with an individual who is mentally ill, experiencing a chaotic
         or highly-agitated event, or thought to be on drugs or alcohol. He also testified that
         Thornton officers are not specifically trained to call for backup from CIT-trained
         personnel when dealing with a person in crisis, and that whether a CIT-trained
         person responds to such a call may be a matter of "catch-as-catch-can" or "luck."


         Officer Husk states that he encounters a member of the public in crisis or mentally
         ill "on a daily basis." Officer Ward agrees it is at least weekly, if not daily. At the
         time of this incident, Officer Ward had been trained in CIT techniques, but Officer
         Husk had not. Nevertheless, Officer Husk took charge of the call because the
         incident occurred in his district, a practice Officer Husk described as "an old school
         police thing." Officer Ward and Commander Carbone testified that officers in this
         case did not use CIT tactics such as keeping a safe distance and giving the
         individual personal space, assuming a calm and non-threatening demeanor,
         gathering information from people at the scene, and learning and understanding the
         person's history. The officers assert that this failure was justified by the exigencies
         of the situation and their concern for public safety. Plaintiffs' expert opines that the
         failure to use de-escalation techniques, the department's action in not training
         Officer Husk in CIT, and Officer Husk's action in assuming responsibility for
         mental health crisis situation simply because the call was in his district, were not
         consistent with well-established modern police standards.

  Estate of Ceballos v. Husk, Civil Action No. 15-cv-01783-RPM, 2017 U.S. Dist. LEXIS

  84309, at *7-9 (D. Colo. June 1, 2017)

         In denying summary judgment for insufficient training, the Court determined that there

  were questions of fact as to the third and fourth elements under the failure to train claim. “This

  evidence supports a reasonable inference that Thornton's policy and training fail to adequately

  consider and emphasize the use of techniques to de-escalate the situation presented when the actor

  is obviously out of control and acting in a bizarre manner suggesting intoxication or mental

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  illness.” Estate of Ceballos v. Husk, Civil Action No. 15-cv-01783-RPM, 2017 U.S. Dist. LEXIS

  84309, at *16-17 (D. Colo. June 1, 2017).

          Where there are differences in this case as compared to Ceballos9 what is overlapping and

  similar is the frequency by which Thornton and PCSO dealt with mentally ill individuals and the

  lack of sufficient training both law enforcement agencies have in addressing those daily issues.

  Said another way, Thornton and PCSO were not dealing with isolated factual scenarios but were

  dealing with the usual and recurring situation of mentally ill individuals that posed a safety risk to

  officers.10    Certainly, a jury could conclude that with the frequency PCSO deals with

  armed/mentally ill residents, there is a high risk that a PCSO deputy will be shot by such a person.

  In this case, there is evidence that at a minimum creates a material issue of fact that Martin Wirth

  had mental illness or some form of mental health condition at the time of the incident. (Ex. 2 at

  93:2-13); see also (Gabrish CBI statement, attached as Ex. 11, at 3-7, 18, 21, 23). In that regard,

  even though the holding in Ceballos is not mandatory authority for this Court, its holding is

  persuasive in that there are questions of fact that a jury can reasonably infer that PCSO’s policy

  and training were so inadequate that it made the sheriff deputies ill equipped in dealing with Martin

  Wirth. Thus, there is a direct causal link between the constitutional deprivation and the inadequate

  training. For instance, Wegener testified that looking back at this situation he would have done

  things differently such as trying to talk to Wirth and convince him not to take it out on the PCSO.

  (Ex. 4 at 267:2-269:1). If Wegener (or more than one of his officers) would have had at CIT

  training, which admittedly Wegener did not have (Id. at 68:12-13), he would have understood and


  9
    Ceballos did not allege state creation danger as the constitutional violation.
  10
     As noted previously, this was evident when a Park County resident began to shoot a law enforcement officers that
  tried to evict him from his residence.

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  known he could have used tactics to deescalate the Wirth incident through communication and not

  taking the extreme measure of breaching the residence to grab Wirth. (Ex. 9); see also (Ex. 1 at

  261:5-11). By breaching the residence11 instead of first using de-escalation techniques the PCSO

  unreasonably exposed the Plaintiffs to private violence.12 (Ex. 9)

           Finally, the Defense argues that under the fourth element in proving deliberate

  indifference that Plaintiffs have to establish that the lack of training applies “toward the persons

  with whom Plaintiffs come into contact” and not the persons that are the recipient of the training.

  See Def. Motion for Summary Judgment, p.31. The flaw in the Defense argument is the failure to

  recognize that the spirit behind the at-issue element is really addressing whether the recipient of

  the inadequate training had his/her rights violated. Admittedly, there are not a lot cases where

  law enforcement has argued that a law enforcement officer’s constitutional rights were violated

  based on the departments’ failure to train the officer. Most of the cases, including Carr, address

  a failure to train when the recipient is a criminal suspect. In the United State District Court for

  the District of Colorado, there was a case where an officer was injured based, in part, on an

  alleged failure to train. See Davies v. City of Lakewood, No. 14-cv-01285-RBJ, 2016 U.S. Dist.

  LEXIS 18355, at *34 (D. Colo. Feb. 16, 2016).13 Ultimately, the Court in Davies dismissed the

  failure to train claim but not on the grounds that the plaintiff as the recipient of the training did

  not have standing to make the claim. Id. at *34-39.


  11
     The first time Wirth pointed a gun at the PCSO deputies was when the officers breached the residence and entered
  the home. (Ex. 1 at 173:14-17).
  12
     Dan Montgomery cites to Scott Glaser’s article titled: “When Mental Illness and Police Collide”. In citing to Mr.
  Glaser’s article, Mr. Montgomery summarized the following: “[t]his training can save the lives of citizens and officers
  alike. It should be available to all officers and local communities should hold their police forces to this standard of
  training. I ask the police to make this training a priority; these tragedies affect not just the public but the lives of
  uniformed officers who are involved in these incidents.” (See Ex. 9)
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     A copy is attached for the Court’s convenience as Ex. 12.

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                                            CONCLUSION

          For all the reasons set forth above, Plaintiffs respectfully request that the Motion be

  denied with respect to Plaintiffs’ first and second claims for relief against PCSO and Wegener in

  his official capacity.

          Dated: May 4, 2018.

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                                CERTIFICATE OF SERVICE

          I hereby certify that on May 4, 2018, I electronically filed the foregoing PLAINTIFFS’
  RESPONSE TO DEFENDANTS PARK COUNTY SHERIFF’S OFFICE AND SHERIFF
  FRED WEGENER’S MOTION FOR SUMMARY JUDGMENT PURSUANT TO FED. R.
  CIV. P. 56 (DOC. NO. 55) with the Clerk of Court using the CM/ECF system which will send
  notification of such filing to the following:

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